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                        IN THE UNITED STATES BANKRUPTCY COURT

                               FOR THE DISTRICT OF DELAWARE

                                                                    )
    In re:                                                          ) Chapter 11
                                                                    )
    AMERIFIRST FINANCIAL, INC.,1                                    ) Case No. 23-11240 (TMH)
                                                                    ) (Jointly Administered)
                                             Debtors.               )
                                                                    )

              THIRD AMENDED2 NOTICE OF AGENDA OF MATTERS
               SCHEDULED FOR HEARING ON OCTOBER 26, 2023
           AT 10:00 A.M. (EASTERN TIME) BEFORE THE HONORABLE
    THOMAS M. HORAN IN THE U.S. BANKRUPTCY COURT, 824 NORTH MARKET
    STREET, 5TH FLOOR, COURTROOM NO. 4, WILMINGTON, DELAWARE 19801


                             PLEASE NOTE: THE HEARING WILL BEGIN AT
                                     10:00 A.M. EASTERN TIME.



       This hearing will be conducted in person. All participants (including witnesses) at an in-
    person hearing are required to attend in person, except that remote participation at an in-person
        hearing is permitted for: (i) counsel for a party or a pro se litigant that files a responsive
    pleading and intends to make only a limited argument; (ii) a party or a representative of a party
     that has not submitted a pleading but is interested in observing the hearing; (iii) any party that
           is proceeding, in a claims allowance dispute, on a pro se basis; or (iv) extenuating
          circumstances that warrant remote participation as may be determined by the Court.

     If appearance via Zoom is permitted, please use the following link to register for this hearing
    to appear via Zoom. All individuals participating by video must register by 4:00 p.m. Eastern
      Time on October 25, 2023. After registering your appearance by Zoom, you will receive a
                 confirmation email containing information about joining the hearing.

        https://debuscourts.zoomgov.com/meeting/register/vJIsdO2trzMpGwMUEitJDeiOtlBOk9r7Sa0

                  COURTCALL WILL NOT BE USED FOR THIS HEARING.


1
 The Debtors and the last four digits of their respective taxpayer identification numbers include: Phoenix 1040
LLC (2550) and AmeriFirst Financial, Inc. (4557). The Debtors’ service address is 575 W. Chandler Boulevard,
Suite 225, Unit 236, Chandler, AZ 85225.

2
    Amended items appear in bold.


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MATTER UNDER ADVISEMENT

1.      Motion to Transfer Venue – United States Trustee’s Motion to Transfer Venue [Filed:
        9/19/23] (Docket No. 142).

        Response Deadline: October 13, 2023 at 5:00 p.m. (Eastern Time).

        Responses Received:

        a) Debtors’ Objection to United States Trustee’s Motion to Transfer Venue [Filed:
           10/13/23] (Docket No. 253).

        b) Joinder of RCP Credit Opportunities Fund Loan SPV (Fund III), L.P. and RCP
           Customized Credit Fund (Fund-IV-A), L.P. to Debtors’ Objection to United States
           Trustee’s Motion to Transfer Venue [Filed: 10/13/23] (Docket No. 257).

        Replies Filed:

        a) [SEALED] Reply of Interested Party Eric Bowlby in Support of United States
           Trustee’s Motion to Transfer Venue [Filed: 10/17/23] (Docket No. 268).

              i. Motion to File Under Seal Certain Information Contained In and Exhibits
                 Attached to Reply of Interested Party Eric Bowlby In Support of United States
                 Trustee’s Motion to Transfer Venue [Filed: 10/23/23] (Docket No. 326).

             ii. [REDACTED] Reply of Interested Party Eric Bowlby in Support of United States
                 Trustee’s Motion to Transfer Venue [Filed: 10/23/23] (Docket No. 327).

        Related Documents:

        a) Notice of Filing of Exhibit A to United States Trustee’s Motion to Transfer Venue
           [Filed: 9/19/23] (Docket No. 143).

        b) Joinder of Interested Party Eric Bowlby to United States Trustee’s Motion to Transfer
           Venue [Filed: 9/20/23] (Docket No. 144).

        c) Certification of Counsel Regarding Scheduling and Protective Order [Filed: 10/3/23]
           (Docket No. 203).

        d) [Signed] Scheduling and Protective Order [Filed: 10/5/23] (Docket No. 222).

        e) Joinder of the Official Committee of Unsecured Creditors to the United States
           Trustee’s Motion to Transfer Venue [Filed: 10/17/23] (Docket No. 266).




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        Witness/Exhibit Lists:

        a) Debtors’ Witness and Exhibit List for Hearing on October 20, 2023 at 10:00 a.m.
           (ET) [Filed: 10/18/23] (Docket No. 276).

        b) Witness and Exhibit List of the Official Committee of Unsecured Creditors for
           October 20, 2023, Hearing [Filed: 10/18/23] (Docket No. 286).

        c) Eric Bowlby’s Witness List and Exhibit List for Hearing on October 20, 2023 at
           10:00 a.m. (ET) [Filed: 10/18/23] (Docket No. 287).

        d) United States Trustee’s Witness and Exhibit List for Hearing on October 20, 2023 at
           10:00 a.m. (ET) [Filed: 10/18/23] (Docket No. 289).

        e) [Signed] Order Denying United States Trustee’s Motion to Transfer Venue [Filed:
           10/25/23] (Docket No. 343).

        f) Memorandum Opinion [Filed: 10/25/23] (Docket No. 348).

        Status: An order has been entered.

MATTERS FOR WHICH COCS HAVE BEEN FILED

2.      Phoenix Capital Retention Application – Debtors’ Application for Entry of an Order
        (A) Authorizing the Retention and Employment of Phoenix Capital, Inc. as MSR Broker
        for the Debtors and Debtors in Possession, Pursuant to 11 U.S.C. §§ 327(a) and 328,
        Effective as of September 7, 2023, (B) Waiving Certain Requirements Imposed By Local
        Rule 2016-2, and (C) Granting Related Relief [Filed: 10/5/23] (Docket No. 224).

        Response Deadline: October 19, 2023 at 4:00 p.m. (Eastern Time). Extended to October
        23, 2023 for the Office of the United States Trustee (the “UST”).

        Responses Received:

        a) Informal comments from the UST.

        Related Documents:

        a) Supplemental Declaration of Garrett Jimenez in Support of Debtors’ Application for
           Entry of Order (I) Authorizing the Retention and Employment of Phoenix Capital,
           Inc. as MSR Broker for the Debtors and Debtors in Possession, Pursuant to 11 U.S.C.
           §§ 327(a) and 328, Effective as of September 7, 2020; (II) Waiving Certain
           Requirements Imposed By Local Rule 2016-2; and (III) Granting Related Relief
           [Filed: 10/23/23] (Docket No. 317).

        b) Certification of Counsel Regarding Debtors’ Application for Entry of an Order (A)
           Authorizing the Retention and Employment of Phoenix Capital, Inc. as MSR Broker
           for the Debtors and Debtors in Possession, Pursuant to 11 U.S.C. §§ 327(a) and 328,



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             Effective as of September 7, 2023, (B) Waiving Certain Requirements Imposed By
             Local Rule 2016-2, and (C) Granting Related Relief [Filed: 10/23/23] (Docket No.
             320).

        c) [Signed] Order (I) Authorizing the Retention and Employment of Phoenix Capital,
           Inc. as MSR Broker for the Debtors and Debtors in Possession, Pursuant to 11 U.S.C.
           §§ 327(a) and 328, Effective as of September 7, 2020; (II) Waiving Certain
           Requirements Imposed By Local Rule 2016-2; and (III) Granting Related Relief
           [Filed: 10/24/23] (Docket No. 332).

        Status: The order has been entered. No hearing is necessary.

3.      Weiner Brodsky Retention Application – Debtors’ Application for Entry of an Order
        (A) Authorizing the Employment and Retention of Weiner Brodsky Kider PC as Special
        Counsel Effective as of September 17, 2023 and (B) Granting Related Relief [Filed:
        10/5/23] (Docket No. 225).

        Response Deadline: October 19, 2023 at 4:00 p.m. (Eastern Time). Extended to October
        23, 2023 for the UST.

        Responses Received:

        a) Informal comments from the UST.

        Related Documents:

        a) Supplemental Declaration of Mitchel H. Kider on Support of the Debtors’
           Application for Entry of an Order (A) Authorizing the Employment and Retention of
           Weiner Brodsky Kider PC as Special Counsel Effective as of September 17, 2023 and
           (B) Granting Related Relief [Filed: 10/23/23] (Docket No. 313).

        b) Certification of Counsel to Debtors’ Application for Entry of an Order (A)
           Authorizing the Employment and Retention of Weiner Brodsky Kider PC as Special
           Counsel Effective as of September 17, 2023 and (B) Granting Related Relief [Filed:
           10/23/23] (Docket No. 318).

        c) [Signed] Order Under 327(e) of the Bankruptcy Code Authorizing the Employment
           and Retention of Weiner Brodsky Kider PC as Special Counsel for the Debtors
           Effective as of September 17, 2023 [Filed: 10/24/23] (Docket No. 331).

        Status: The order has been entered. No hearing is necessary.

4.      Bon Salle Retention Application – Debtors’ Application for Entry of an Order (A)
        Authorizing the Retention and Employment of The Bon Salle Group as Consultant for the
        Debtors and Debtors in Possession Pursuant to 11 U.S.C. §§ 327(a) and 328, Effective as
        of September 12, 2023, (B) Waiving Certain Requirements Imposed By Local Rule 2016-
        2, and (C) Granting Related Relief [Filed: 10/5/23] (Docket No. 227).



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        Response Deadline: October 19, 2023 at 4:00 p.m. (Eastern Time). Extended to October
        23, 2023 for the UST.

        Responses Received:

        a) Informal comments from the UST.

        Related Documents:

        a) Supplemental Declaration of Andrew Bon Salle in Support of Debtors’ Application
           for Entry of an Order (I) Authorizing the Retention and Employment of the Bon Salle
           Group as Consultant for the Debtors and Debtors in Possession, Pursuant to 11 U.S.C.
           §§ 327(a) and 328, Effective as of September 12, 2023; (II) Waiving Certain
           Requirements Imposed By Local Rule 2016-2; and (III) Granting Related Relief
           [Filed: 10/23/23] (Docket No. 321).

        b) Certification of Counsel to Debtors’ Application for Entry of an Order (A)
           Authorizing the Retention and Employment of The Bon Salle Group as Consultant for
           the Debtors and Debtors in Possession Pursuant to 11 U.S.C. §§ 327(a) and 328,
           Effective as of September 12, 2023, (B) Waiving Certain Requirements Imposed By
           Local Rule 2016-2, and (C) Granting Related Relief [Filed: 10/23/23] (Docket No.
           325).

        c) [Signed] Order (I) Authorizing the Retention and Employment of The Bon Salle
           Group as Consultant for the Debtors and Debtors in Possession, Pursuant to 11 U.S.C.
           §§ 327(a) and 328, Effective as of September 12, 2023; (II) Waiving Certain
           Requirements Imposed By Local Rule 2016-2; and (III) Granting Related Relief
           [Filed: 10/24/23] (Docket No. 333).

        Status: The order has been entered. No hearing is necessary.

MATTERS GOING FORWARD

5.      Kasowitz Retention Application/Motion to Disqualify – Application of the Official
        Committee of Unsecured Creditors of AmeriFirst Financial, Inc., et al. to Retain and
        Employ Kasowitz Benson Torres LLP as Special Litigation Counsel Nunc Pro Tunc to
        September 19, 2023 [Filed: 10/4/23] (Docket No. 212).

        Response Deadline: October 13, 2023. Extended to October 16, 2023 at 4:00 p.m. for
        the Office of the United States Trustee.




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        Responses Received:

        a) Debtors’ (I) Objection to Retention of Kasowitz Benson Torres LLP as Counsel to the
           Official Committee of Unsecured Creditors and (II) Motion to Disqualify Kasowitz
           from Representing Committee [Filed: 10/11/23] (Docket No. 243).

            i.    Notice of Filing of Corrected Exhibits H and I to Debtors’ (I) Objection to
                  Retention of Kasowitz Benson Torres LLP as Counsel to the Official Committee
                  of Unsecured Creditors and (II) Motion to Disqualify Kasowitz from
                  Representing Committee [Filed: 10/17/23] (Docket No. 273).

        b) United States Trustee’s Objection to Application of the Official Committee of
           Unsecured Creditors of AmeriFirst Financial, Inc., et al. to Retain and Employ
           Kasowitz Benson Torres LLP as Special Litigation Counsel Nunc Pro Tunc to
           September 19, 2023 [Filed: 10/16/23] (Docket No. 260).

        Replies Filed:

        a) The Official Committee of Unsecured Creditors of AmeriFirst Financial, Inc., et al.’s
           Omnibus Reply in Further Support of Application to Retain and Employ Kasowitz
           Benson Torres LLP as Special Litigation Counsel Nunc Pro Tunc to September 19,
           2023 [Filed: 10/18/23] (Docket No. 277).

            i.    Declaration of Edward E. Filusch in Support of the Official Committee of
                  Unsecured Creditors of AmeriFirst Financial, Inc., et al.’s Omnibus Reply in
                  Further Support of Application to Retain and Employ Kasowitz Benson Torres
                  LLP as Special Litigation Counsel Nunc Pro Tunc to September 19, 2023 [Filed:
                  10/18/23] (Docket No. 278).

        Related Documents:

        a) Certification of Counsel Regarding Scheduling and Protective Order [Filed: 10/3/23]
           (Docket No. 203).

        b) Motion to Shorten Notice of Application of the Official Committee of Unsecured
           Creditors of AmeriFirst Financial, Inc., et al. to Retain and Employ Kasowitz Benson
           Torres LLP as Special Litigation Counsel Nunc Pro Tunc to September 19, 2023
           [Filed: 10/5/23] (Docket No. 213).

        c) [Signed] Order Shortening Notice of Application for Order Authorizing the Retention
           and Employment of Kasowitz Benson Torres LLP as Special Litigation Counsel for
           the Official Committee of Unsecured Creditors Effective as of September 19, 2023
           [Filed: 10/5/23] (Docket No. 216).

        d) [Signed] Scheduling and Protective Order [Filed: 10/5/23] (Docket No. 222).




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        Witness/Exhibit Lists:

        a) Debtors’ Witness and Exhibit List for Hearing on October 20, 2023 at 10:00 a.m.
           (ET) [Filed: 10/18/23] (Docket No. 276).

        b) Witness and Exhibit List of the Official Committee of Unsecured Creditors for
           October 20, 2023, Hearing [Filed: 10/18/23] (Docket No. 286).

        c) United States Trustee’s Witness and Exhibit List for Hearing on October 20, 2023 at
           10:00 a.m. (ET) [Filed: 10/18/23] (Docket No. 289).

        d) Debtors’ Witness and Exhibit List for Hearing on October 26, 2023 at 10:00 a.m.
           (ET) [Filed: 10/24/23] (Docket No. 328).

        e) Witness and Exhibit List of the Official Committee of Unsecured Creditors for
           October 26, 2023, Hearing [Filed: 10/24/23] (Docket No. 330).

        f) Debtors’ Amended Witness and Exhibit List for Hearing on October 26, 2023 at
           10:00 a.m. (ET) [Filed: 10/25/23] (Docket No. 349).

        g) Debtors’ Second Amended Witness and Exhibit List for Hearing on October 26,
           2023 at 10:00 a.m. (ET) [Filed: 10/25/23] (Docket No. 354).

        Status: This matter will go forward.

6.      DIP Motion – Motion of the Debtors for Interim and Final Orders (I) Authorizing
        Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II)
        Granting Adequate Protection to Prepetition Lenders, (III) Modifying the Automatic
        Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related Relief [Filed: 8/29/23]
        (Docket No. 21).

        Response Deadline: October 20, 2023.

        Responses Received:

        a) Informal comments received from GNMA and the FHA.

        b) Emergency Motion of Eric Bowlby to Adjourn the September 18, 2023 Hearing and
           September 13, 2023 Objection Deadline of Debtors’ Motion for Entry of a Final
           Order (I) Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize
           Cash Collateral, (II) Granting Adequate Protection to Prepetition Lenders, (III)
           Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting
           Related Relief [Filed: 9/12/23] (Docket No. 113).

             (i) [Signed] Order Denying Emergency Motion of Eric Bowlby to Adjourn the
                 September 18, 2023 Hearing and September 13, 2023 Objection Deadline of
                 Debtors’ Motion for Entry of a Final Order (I) Authorizing Debtors (A) to Obtain
                 Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate


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                   Protection to Prepetition Lenders, (III) Modifying the Automatic Stay, (IV)
                   Scheduling a Final Hearing, and (V) Granting Related Relief [Filed: 9/13/23]
                   (Docket No. 115).

        c) Preliminary Objection of Eric Bowlby to Debtors’ First Day Motions [Filed: 8/30/23]
           (Docket No. 44).

        d) Supplemental Objection of Eric Bowlby to Debtors’ Motion for Entry of a Final
           Order (I) Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize
           Cash Collateral, (II) Granting Adequate Protection to Prepetition Lenders, (III)
           Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting
           Related Relief [Filed: 9/13/23] (Docket No. 116).

             (i) Declaration of Eric Bowlby, Former CEO and Majority Shareholder of AFI, in
                 Support of Eric Bowlby’s Supplemental Objection to Debtors’ Motion for Entry
                 of a Final Order (I) Authorizing Debtors (A) to Obtain Postpetition Financing and
                 (B) to Utilize Cash Collateral, (II) Granting Adequate Protection to Prepetition
                 Lenders, (III) Modifying the Automatic Stay, (IV) Scheduling a Final Hearing,
                 and (V) Granting Related Relief [Filed: 9/22/23] (Docket No. 154).

        e) Statement of the Official Committee of Unsecured Creditors Concerning the Debtors’
           First Day Motions and Requesting Status Conference [Filed: 9/27/23] (Docket No.
           171).

        f) United States Trustee’s Objection to Debtors’ Motion for Final Order (I) Authorizing
           Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II)
           Granting Adequate Protection to Prepetition Lenders, (III) Modifying the Automatic
           Stay, and (IV) Granting Related Relief [Filed: 10/13/23] (Docket No. 254).

        g) [SEALED] Preliminary Objection of Official Committee of Unsecured Creditors to
           Motion of the Debtors for Interim and Final Orders (I) Authorizing Debtors (A) to
           Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting
           Adequate Protection to Prepetition Lenders, (III) Modifying the Automatic Stay, (IV)
           Scheduling a Final Hearing, and (V) Granting Related Relief [Filed: 10/13/23]
           (Docket No. 256).

             i.    [Redacted] Preliminary Objection of the Official Committee of Unsecured
                   Creditors to Motion of the Debtors for Interim and Final Orders (I)Authorizing
                   Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash Collateral,
                   (II) Granting Adequate Protection to Prepetition Lenders, (III) Modifying the
                   Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related
                   Relief [Filed: 10/18/23] (Docket No. 281).

            ii.    Committee’s Motion to Seal – Motion to File Under Seal Certain Information
                   Contained in and Exhibits Attached to Preliminary Objection of the Official
                   Committee of Unsecured Creditors to Motion of the Debtors for Interim and Final
                   Orders (I) Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to
                   Utilize Cash Collateral, (II) Granting Adequate Protection to Prepetition Lenders,


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                 (III) Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and (V)
                 Granting Related Relief (D.I. 256) [Filed: 10/18/23] (Docket No. 280).

        h) [SEALED] Amended and Restated Objection of the Official Committee of Unsecured
           Creditors to Motion of the Debtors for Interim and Final Orders (I) Authorizing
           Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II)
           Granting Adequate Protection to Prepetition Lenders, (III) Modifying the Automatic
           Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related Relief [Filed:
           10/22/23] (Docket No. 310).

        i) [REDACTED] Amended and Restated Objection of the Official Committee of
           Unsecured Creditors to Motion of the Debtors for Interim and Final Orders (I)
           Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize
           Cash Collateral, (II) Granting Adequate Protection to Prepetition Lenders, (III)
           Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and (V)
           Granting Related Relief [Filed: 10/25/23] (Docket No. 352).

        Related Documents:

        a) Notice of Hearing on Motion of the Debtors for Interim and Final Orders (I)
           Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash
           Collateral, (II) Granting Adequate Protection to Prepetition Lenders, (III) Modifying
           the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related
           Relief [Filed: 8/29/23] (Docket No. 37).

        b) Notice of Filing of Revised Proposed Interim Order (I) Authorizing Debtors (A) to
           Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting
           Adequate Protection to Prepetition Lenders, (III) Modifying the Automatic Stay, (IV)
           Scheduling a Final Hearing, and (V) Granting Related Relief [Filed: 8/30/23] (Docket
           No. 47).

        c) Certification of Counsel Regarding Interim Order (I) Authorizing Debtors (A) to
           Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting
           Adequate Protection to Prepetition Lenders, (III) Modifying the Automatic Stay, (IV)
           Scheduling a Final Hearing, and (V) Granting Related Relief [Filed: 8/31/23] (Docket
           No. 57).

        d) [Signed] Interim Order (I) Authorizing Debtors (A) to Obtain Postpetition Financing
           and (B) to Utilize Cash Collateral, (II) Granting Adequate Protection to Prepetition
           Lenders, (III) Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and
           (V) Granting Related Relief [Filed: 8/31/23] (Docket No. 61).

        e) Notice of Entry of Interim Order and Final Hearing Regarding Motion of the Debtors
           for Interim and Final Orders (I) Authorizing Debtors (A) to Obtain Postpetition
           Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate Protection to
           Prepetition Lenders, (III) Modifying the Automatic Stay, (IV) Scheduling a Final
           Hearing, and (V) Granting Related Relief [Filed: 9/1/23] (Docket No. 67).



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        f) Notice of Filing of Proposed Final Order (I) Authorizing Debtors (A) to Obtain
           Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate
           Protection to Prepetition Lenders, (III) Modifying the Automatic Stay, and (IV)
           Granting Related Relief [Filed: 9/7/23] (Docket No. 82).

        g) Notice of Filing of Budget [Filed: 9/8/23] (Docket No. 87).

        h) Debtors’ Witness and Exhibit List for Hearing on September 18, 2023 at 2:00 p.m.
           (ET) [Filed: 9/14/23] (Docket No. 119).

        i) Notice of Emergency Zoom Hearing September 15, 2023 at 4:00 p.m. [Filed:
           9/15/23] (Docket No. 123).

        j) Re-Notice of Hearing on Motion of the Debtors for Interim and Final Orders (I)
           Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash
           Collateral, (II) Granting Adequate Protection to Prepetition Lenders, (III) Modifying
           the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related
           Relief [Filed: 9/18/23] (Docket No. 138).

        k) Eric Bowlby’s Witness List and Exhibit List for Hearing on September 26, 2023 at
           11:00 a.m. (ET) [Filed: 9/22/23] (Docket No. 155).

        l) Debtors’ Witness and Exhibit List for Hearing on October 2, 2023 at 11:00 a.m. (ET)
           [Filed: 9/28/23] (Docket No. 175).

        m) Certification of Counsel Regarding Scheduling and Protective Order [Filed: 10/3/23]
           (Docket No. 203).

        n) [Signed] Scheduling and Protective Order [Filed: 10/5/23] (Docket No. 222).

        o) Notice of Filing of Proposed Revised Final Order (I) Authorizing Debtors (A) to
           Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting
           Adequate Protection to Prepetition Lenders, (III) Modifying the Automatic Stay, and
           (IV) Granting Related Relief [Filed: 10/6/23] (Docket No. 231).

        p) Debtors’ Witness and Exhibit List for Hearing on October 26, 2023 at 10:00 a.m.
           (ET) [Filed: 10/24/23] (Docket No. 328).

        q) Witness and Exhibit List of the Official Committee of Unsecured Creditors for
           October 26, 2023, Hearing [Filed: 10/24/23] (Docket No. 330).

        r) Exhibit List of RCP Credit Opportunities Fund Loan SPV (Fund III), L.P. and RCP
           Customized Credit Fund (Fund-Iv-A), L.P. for the Hearing on October 26, 2023 at
           10:00 a.m. (ET) [Filed: 10/24/23] (Docket No. 339).




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        s) Debtors’ Amended Witness and Exhibit List for Hearing on October 26, 2023 at
           10:00 a.m. (ET) [Filed: 10/25/23] (Docket No. 349).

        t) Notice of Filing of Revised Budget [Filed 10/25/23] (Docket No. 353).

        u) Debtors’ Second Amended Witness and Exhibit List for Hearing on October 26,
           2023 at 10:00 a.m. (ET) [Filed: 10/25/23] (Docket No. 354).

        Replies:

        a) Reply of the Debtors in Support of Motion of the Debtors for Interim and Final Order
           (I) Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash
           Collateral, (II) Granting Adequate Protection to Prepetition Lenders, (III) Modifying
           the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related
           Relief [Filed: 9/14/23] (Docket No. 118).

        b) Debtors’ Supplemental Omnibus Reply in Support of Motion for Interim and Final
           Orders (I) Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to
           Utilize Cash Collateral, (II) Granting Adequate Protection to Prepetition Lenders,
           (III) Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and (V)
           Granting Related Relief [Filed: 10/24/23] (Docket No. 338).

        c) [SEALED] Reply of RCP Credit Opportunities Fund Loan SPV (Fund III), L.P. and
           RCP Customized Credit Fund (Fund IV-A), L.P. in Further Support of Debtors'
           Motion for Entry of a Final Order (I) Authorizing Debtors (A) to Obtain Postpetition
           Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate Protection to
           Prepetition Lenders, (III) Modifying the Automatic Stay, (IV) Scheduling a Final
           Hearing, and (V) Granting Related Relief [Filed: 10/24/23] (Docket No. 335).

             i.    Motion of RCP Credit Opportunities Fund Loan SPV (Fund III), L.P. and RCP
                   Customized Credit Fund (Fund IV-A), L.P. for Leave to File and Serve a Late
                   Reply in Further Support of the Debtors’ DIP Motion [Filed: 10/24/23] (Docket
                   No. 336).

            ii.    [Signed] Order Granting Motion of RCP Credit Opportunities Fund Loan SPV
                   (Fund III), L.P. and RCP Customized Credit Fund (Fund IV-A), L.P. for Leave to
                   File and Serve a Late Reply in Further Support of the Debtors’ DIP Motion
                   [Filed: 10/25/23] (Docket No. 342).

        Status: This matter will go forward.

7.      Oaktree Sale Motion – Debtors’ Motion for Entry of Order (I) Authorizing the Private
        Transfer or Sale of Certain Loans and Related Assets Free and Clear of Liens, Claims,
        Encumbrances, and Interests; (II) Approving the Terms of the Asset Purchase
        Agreement; (III) Approving the Assumption and Assignment of Certain Executory
        Contracts; and (IV) Granting Related Relief [Filed: 10/5/23] (Docket No. 226).

        Response Deadline: October 19, 2023 at 4:00 p.m. (Eastern Time).


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        Responses Received:

        a) United States Trustee’s Objection to Debtors’ Motion for Entry of Order (I)
           Authorizing the Private Transfer or Sale of Certain Loans and Related Assets [Filed:
           10/19/23] (Docket No. 297).

        b) Informal comments from Fannie Mae and Freddie Mac.

        c) Informal comments from Saluda Grade.

        Related Documents:

        a) Notice of Cure Costs and Potential Assumption and Assignment of Executory
           Contracts in Connection with Sale of Certain of the Debtors’ Assets [Filed: 10/5/23]
           (Docket No. 229).

        b) Notice of Filing of Proposed Asset Purchase Agreement and Proposed Order [Filed:
           10/19/23] (Docket No. 298).

        Witness/Exhibit Lists:

        a) Debtors’ Witness and Exhibit List for Hearing on October 26, 2023 at 10:00 a.m.
           (ET) [Filed: 10/24/23] (Docket No. 328).

        b) Witness and Exhibit List of the Official Committee of Unsecured Creditors for
           October 26, 2023, Hearing [Filed: 10/24/23] (Docket No. 330).

        c) Debtors’ Amended Witness and Exhibit List for Hearing on October 26, 2023 at
           10:00 a.m. (ET) [Filed: 10/25/23] (Docket No. 349).

        d) Debtors’ Second Amended Witness and Exhibit List for Hearing on October 26,
           2023 at 10:00 a.m. (ET) [Filed: 10/25/23] (Docket No. 354).

        Status: This matter will go forward.

8.      KERP Motion – Debtors’ Motion for Entry of an Order (I) Approving Key Employee
        Retention Program, and (II) Granting Related Relief [Filed: 10/5/23] (Docket No. 228).

        Response Deadline: October 19, 2023 at 4:00 p.m. (Eastern Time). Extended to October
        23, 2023 for the UST.

        Responses Received: None as of the date hereof.

        Related Documents:

        a) Certification of Counsel Regarding Debtors’ Motion for Entry of an Order (I)
           Approving Key Employee Retention Program, and (II) Granting Related Relief
           [Filed: 10/25/23] (Docket No. 345).



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        b) [Signed] Order Approving Key Employee Retention Plan [Filed: 10/25/23] (Docket
           No. 346)


        Witness/Exhibit Lists:

        a) Debtors’ Witness and Exhibit List for Hearing on October 26, 2023 at 10:00 a.m.
           (ET) [Filed: 10/24/23] (Docket No. 328).

        Status: The order has been entered. No hearing is necessary.

9.      Committee Seal Motion – Motion to File Under Seal Certain Information Contained in
        and Exhibits Attached to Preliminary Objection of the Official Committee of Unsecured
        Creditors to Motion of the Debtors for Interim and Final Orders (I) Authorizing Debtors
        (A) to Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting
        Adequate Protection to Prepetition Lenders, (III) Modifying the Automatic Stay, (IV)
        Scheduling a Final Hearing, and (V) Granting Related Relief (D.I. 256) [Filed: 10/18/23]
        (Docket No. 280).

        Response Deadline: At or before the hearing.

        Responses Received: None as of the date hereof.

        Related Documents: None as of the date hereof.

        Status: This matter will go forward.

10.     Bowlby Seal Motion – Motion to File Under Seal Certain Information Contained In and
        Exhibits Attached to Reply of Interested Party Eric Bowlby In Support of United States
        Trustee’s Motion to Transfer Venue [Filed: 10/23/23] (Docket No. 326).

        Response Deadline: At or before the hearing.

        Responses Received: None as of the date hereof.

        Related Documents: None as of the date hereof.

        Status: This matter will go forward.

11.     Second Committee Seal Motion – Motion to File Under Seal Certain Information
        Contained in and Exhibits Attached to Amended and Restated Objection of the
        Official Committee of Unsecured Creditors to Motion of the Debtors for Interim
        and Final Orders (I) Authorizing Debtors (A) to Obtain Postpetition Financing and
        (B) to Utilize Cash Collateral, (II) Granting Adequate Protection to Prepetition
        Lenders, (III) Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and
        (V) Granting Related Relief (D.I. 310) [Filed: 10/25/23] (Docket No. 351).

        Response Deadline: At or before the hearing.



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        Responses Received: None as of the date hereof.

        Related Documents: None as of the date hereof.

Status: This matter will go forward.


Dated: October 25, 2023                PACHULSKI STANG ZIEHL & JONES LLP
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